
I respectfully dissent. How can the situs of the County Planning and Zoning Commission hearing establish jurisdiction as between the Birmingham and Bessemer Divisions of Jefferson County? The pertinent question is: What is the subject matter of the litigation? In my opinion, the answer — *Page 1294 
the zoning of real property located exclusively within the Bessemer cut-off — is determinative of the jurisdiction under the local act creating a Bessemer Division. The cause of action arose where the land is situated and not in the hearing room of the Planning and Zoning Commission. See my dissent in MeadCorporation v. City of Birmingham, 295 Ala. 14, 321 So.2d 655
(1975).
ALMON, J., concurs.